                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                          CASE NO: 5:l 7-CV-356

RICARDO MONDRAGON, EUSTORGIO                        )
ESPINOBARROS FELICIANO,                             )
JUAN CONTRERAS, CUTBERTO ORTIZ                      )
HERNANDEZ, ALEJANDRO JIMENEZ                        )
GONZALEZ, RENATO ROMERO                             )
ACUNA, JOSE TAPIA, ANASTACIO                        )
LOPEZ SOLIS, and ABDON QUIRASCO                     )
SIXTECO, on behalf of themselves and all            )
other similarly situated persons,                   )
                                                    )
               Plaintiffs,                          )
                                                    )
V.                                                  )
                                                    )
SCOTT FARMS, INC., ALICE H. SCOTT,                  )
LINWOOD H. SCOTT, JR., LINWOOD H.                   )
SCOTT III, DEWEY R. SCOTT, JFT                      )
HARVESTING INC., JUAN F. TORRES                     )
OASIS HARVESTING, INC.,                             )
and RAMIRO B. TORRES                                )
                                                    )
               Defendants.                          )
                                                    )


     ORDER GRANTING PRELIMINARY APPROVAL OF COLLECTIVE
            ACTION AND CLASS ACTION SETTLEMENT

       This matter is before the Court on the parties' Joint Motion for Preliminary

Approval of Collective Action and Class Action Settlement ("Joint Motion"). The Court

finds that the proposed settlement terms are fair, adequate, and within the range of

reasonableness for preliminary approval, Fed. R. Civ. P. 23(e).

       Therefore, the Court preliminarily approves the Settlement Agreement attached as

Exhibit 2 to the Joint Motion.




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SO ORDERED.

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         This,the_dayof  November
                        __ _ _ _ _ _ _,2019.




                              THE HONORABLE LOUISE W. FLANAGAN
                              U.S. DISTRICT COURT JUDGE




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